Case 3:14-cV-00349-T.]C-I\/|CR Document 17 Filed 07/15/14 Page 1 of 1 Page|D 64

IN THE UNITED STATES DISTRICT COURT
IN AND FOR THE MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

DONNA WILSON,
Plaintiff,
_VS-

ASHFORD UNIVERSITY, LLC,
CASE NO.: 3:14-CV-349-J-32 MCR
Defendant.
/

NOTICE OF SETTLEMENT
PLEASE TAKE NOTICE that the parties have reached an agreement for settlement, and are

in the process of finalizing the settlement agreement

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by
- ‘k
U.S. Mail this _[é\day of July, 2014 to: Ivan J. Reich, Esq., Gray Robinson, P.A., 401 E. Las

Olas Blvd., Suite 1000, Fort Lauderdale, FL 33301; ireich@grav»robinson.com.

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Mich J. Vitoria, Esquire
Morgan & Morgan Tampa, P.A.
One Tampa City Center

Tampa, FL 33602

Tele: (813) 223-5505

Fax: (813) 223-54()2
MVitoria@ForThePeople.com
KReynolds@ForThePeople.com
Florida Bar #: 0135534

Attorney for Plaintiff

 

